                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO

CHRISTINE LUCERO as Next Friend
to DAN LUCERO

                Plaintiff,

v.                                                     No.

CITY OF CLOVIS POLICE DEPARTMENT,
BRENT AGUILAR, TRAVIS LOOMIS,
DOUGLAS FORD

                Defendants.

     COMPLAINT FOR THE RECOVERY OF DAMAGES CAUSED BY THE
                 DEPRIVATION OF CIVIL RIGHTS

        Plaintiff brings this complaint for damages caused by the violation of Dan Lucero’s

civil and constitutional rights. Plaintiff files this complaint under the Federal Civil Rights

Act, the Constitution of the United States, and the New Mexico Tort Claims Act. In support

of this Complaint, Plaintiffs’ allege the following:

                              JURISDICTION AND VENUE

     1. Jurisdiction over the subject matter of this action is conferred by 28 U.S.C. § 1331

        and 42 U.S.C. §§ 1983 and 1988.

     2. Venue is proper as the acts complained of occurred exclusively within Curry

        County, New Mexico.

                                         PARTIES

     3. Dan Lucero (“Dan”) is an individual and resident of Curry County, New Mexico.

     4. Plaintiff Christine Lucero is an individual and resident of Curry County, New

        Mexico. Christine is the aunt of and Next Friend to Dan Lucero.




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5. Defendant City of Clovis Police Department (“CPD”) is a governmental entity

   within the State of New Mexico and a “person” under 43 U.S.C. § 1983. At all

   times material to this Complaint the CPD was the employer of the individual

   defendants.

6. At all material times Defendant Brent Aguilar was a police officer for the City of

   Clovis Police Department.

7. At all material times Defendant Aguilar was acting under color of state law and

   within the scope of his employment.

8. Defendant Aguilar is sued in his individual capacity only.

9. At all material times Defendant Travis Loomis was a Sergeant for the City of Clovis

   Police Department with supervisory duties.

10. At all material times Defendant Loomis was acting under color of state law and

   within the scope of his employment.

11. Defendant Loomis is sued in his individual capacity only.

12. At all material times Defendant Douglas Ford was the Chief of Police for the City

   of Clovis Police Department.

13. At all material times Defendant Ford was acting under color of state law and within

   the scope of his employment.

14. Defendant Ford is sued in his official capacity only.

                          FACTUAL BACKGROUND

15. On February 22, 2019, Dan Lucero’s mother called the Clovis Police Department

   and told the dispatcher her son, Dan Lucero, was suicidal.




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16. Defendant Brent Aguilar, Defendant Travis Loomis, J. Romero, and Tony Bosque

   responded to the call and arrived at the Hotel Clovis Apartments, where Dan’s

   mother lived.

17. The conversations and events that occurred throughout this incident were captured

   on video and audio with the officers’ lapel cameras.

18. When they arrived, officers spoke with Dan Lucero’s mother about the situation.

19. Dan’s mother informed officers that Dan was suicidal.

20. Defendant Loomis asked Dan’s mother if he had a gun, and she told him as far as

   she knew he did not have a gun and she had never seen him with a gun before.

21. Officers told Ms. Lucero that they were going to go talk to Dan.

22. Officers went up to Ms. Lucero’s apartment where Dan was napping.

23. Defendant Aguilar brought his police service dog LEO (“PSD Leo”) with him to

   the apartment.

24. Dan stepped up to the entrance of the apartment when officers arrived.

25. A clear, glass door separated the hallway between Dan and the officers.

26. Officer Loomis told Dan they needed to speak with him and make sure he was

   alright.

27. Officers told Dan his mother asked them to come check on him.

28. Dan told officers he was ok.

29. Soon after making contact with Dan, Defendant Aguilar told Defendant Loomis “If

   he opens that door and he steps--- he goes to step back in, I’m going to let Leo go.

   Travis, you clear on that?”

30. Defendant Loomis nodded yes.




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31. Defendants decided minutes into their interaction with Dan that they would release

   the dog on him if he walked away.

32. Officers continued to argue with Dan, trying to coax him out of the apartment.

33. Dan was never told by officers that he was being investigated for any criminal

   activity.

34. Dan was never told he was going to be detained in relation to any criminal activity.

35. In fact, officers continually told Dan he was not in any criminal trouble.

36. Officer Romero told Dan, “You’re not in trouble, man. I can assure you of that. We

   have to check your status and your welfare and we’ll get out of your hair.”

37. Defendant Loomis told Dan, “I just need you to open the door so I can see you.”

38. All officers, including Defendant Loomis, were able to see Dan through the glass

   door.

39. Dan told officers that he was “ok” at least six (6) times during his four minute and

   fifty second (4:50) interaction with the officers.

40. Dan eventually agreed to step outside after getting his shoes from inside the

   apartment.

41. Officer J. Romero told Dan not to go back into the apartment, that he didn’t need

   his shoes and they weren’t going anywhere.

42. Officer Romero told Dan, “We’re not here to hurt you. I assure you of that. We

   don’t want anyone to get hurt.”

43. Officer Romero then told him “We’re not here to hurt you or be mean to you. We’re

   here for a reason because your family is concerned about you.”

44. Dan again told officers he was going to put his shoes on then he would come out.




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45. Officers never told Dan that they would set the dog on him if he returned to the

   apartment to get his shoes.

46. Dan returned into his apartment with every intention of coming out to assure

   officers he was not suicidal.

47. Immediately as Dan entered into the apartment, Defendant Loomis opened the glass

   door with a key provided by the landlord.

48. Defendant Aguilar pushed his way through the line of police officers with his PSD

   Leo so he could be the first officer in the apartment.

49. Defendant Loomis and other responding officers allowed Defendant Aguilar to the

   front of the formation, and into the apartment.

50. Defendant Aguilar began yelling, “Come out here or the dog is going to bite you,

   Dan. Come out here Danny. Come out here Danny.”

51. Defendant Loomis told Dan he was “going to get bit.”

52. When Defendants Aguilar and Loomis entered the apartment, Dan was standing in

   his mother’s living room with his shoes in one hand and nothing in the other.

53. Defendant Aguilar commanded Dan to get onto the ground.

54. Dan was clearly unarmed.

55. Within four (4) seconds, Defendant Aguilar released PSD Leo and yelled,

   “Fassen!” repeatedly, commanding his dog to attack Dan.

56. At no point during these four (4) seconds did Dan make any verbal or physical

   threats to the officers.

57. At no point during these (4) seconds did Dan run from the officers, reach for a

   weapon, or appear to have any weapons on or near him in the apartment.




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58. Defendant Aguilar’s dog sunk its teeth into Dan’s leg and clamped down.

59. After the dog had Dan’s leg in its jaws, Defendant Aguilar began yelling at Dan,

   “Get on the fucking ground!”

60. Dan had fallen to the ground and was screaming out in pain.

61. Defendant Loomis took out his handcuffs and cuffed Dan behind his back.

62. Defendant Aguilar yelled at Dan, “Daniel be quiet! Daniel be quiet! Daniel be

   quiet! Daniel be quiet!” then “Bad guy stop fighting my dog! Bad guy stop fighting

   my dog!”

63. Defendants allowed the dog to clamp down on Dan’s leg for approximately 30

   seconds.

64. Defendant Loomis made no attempt to intervene and have the dog removed from

   Dan’s leg.

65. 30 seconds is an extraordinarily long amount of time to have a dog bite and tear on

   a person’s leg.

66. Eventually, Defendant Aguilar commanded the dog to release.

67. Defendant Aguilar then congratulated the dog for the attack, telling him “Good

   boy!”

68. Dan was taken out of the apartment and transported to the hospital by ambulance.

69. When he arrived at the hospital in Clovis, hospital staff evaluated his serious injury.

70. The dog had bitten through Dan’s jeans and torn his left calf open.

71. Muscle and tendons were visible through the large, open, gaping wound.

72. His injury was so severe that the Clovis hospital was not capable of treating him.




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73. Dan was transported to the University Medical Center in Lubbock, TX for treatment

    of his injury.

74. Dan remained in the hospital for nine (9) days to receive wound care and treatment

    to prevent infection.

75. After he was released from the hospital, Dan continued to require constant medical

    care, so he was transported to a nursing home in Clovis, NM.

76. Dan remained in the nursing home for nine (9) days.

77. When Dan was released from the hospital, he required home healthcare.

78. A nurse came to his home to provide wound care twice per week.

79. Dan was released with a wound vacuum and specific wound care instructions.

80. Dan requires continued care for his serious injury.

                           COUNT I: EXCESSIVE FORCE
                     (Defendants Brent Aguilar and Travis Loomis)

81. Plaintiff restates each of the preceding allegations as it fully stated herein.

82. Dan has a Fourth Amendment right to be free from unlawful search and seizure.

83. This includes the right to be free from the use of excessive force.

84. Defendant Loomis was the sergeant on duty on the night of this incident.

85. Despite this, Defendant Loomis abdicated his authority to Defendant Aguilar.

86. Defendant Loomis allowed Defendant Aguilar to call the shots when they arrived

    at the apartment.

87. Defendant Loomis allowed Defendant Aguilar to retrieve his dog from his police

    unit before they went up to his mother’s apartment.

88. Defendant Aguilar told Defendant Loomis that he was going to release PSD Leo

    on Dan if stepped back into the apartment.



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89. Instead of disagreeing with Defendant Aguilar’s decision to release a police dog on

   Dan for stepping into the apartment, Defendant Loomis agreed to Aguilar’s plan.

90. When Dan went back into his mother’s apartment, Defendants followed.

91. Defendant Loomis allowed Defendant Aguilar to pass him and enter the apartment

   before him with PSD Leo.

92. Defendant Loomis knew Defendant Aguilar would release PSD Leo on Dan.

93. Defendant Loomis knew that if PSD Leo was released he would attack and bite

   Dan.

94. Defendant Loomis told Dan he was “going to get bit.”

95. Defendant Aguilar pushed his way through the other officers to be the first into Ms.

   Lucero’s apartment.

96. Defendant Loomis allowed Defendant Aguilar to enter the apartment first, with

   PSD Leo.

97. When the defendants entered the apartment, Dan was standing in the living room.

98. Defendants had been informed by Dan’s mother that she had never seen him with

   a gun, nor did she believe that Dan owned any guns.

99. When the defendants entered the apartment, it was obvious that Dan was not

   wielding any weapons, nor did he threaten the officers in any way.

100.       Instead, Dan only had his shoes in his hands and his other hand was open

   and clearly empty.

101.       Dan did not pose any threat to officers.

102.       Defendant Loomis knew it was unreasonable, reckless, and unacceptable

   for Defendant Aguilar to release PSD Leo on Dan in this circumstance.




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103.        Instead of stopping the release of PSD Leo, he continued to allow Defendant

   Aguilar’s plan of attack to continue.

104.        Almost immediately, Defendant Aguilar released PSD Leo and commanded

   him to attack Dan.

105.        Defendant Aguilar decided to release the dog, regardless of what Dan was

   going.

106.        This decision was made by Defendant Aguilar before Dan entered the

   apartment.

107.        It was unreasonable and unacceptable for Defendant Aguilar to have used

   PSD Leo in this situation.

108.        As the high-ranking officer at this scene, Defendant Loomis had a duty to

   intervene and prevent the vicious dog attack.

109.        Defendant Loomis failed to intervene and prevent Defendant Aguilar from

   entering the apartment to release the dog on Dan.

110.        Defendant Loomis further failed to intervene after Defendant Aguilar had

   released the dog on Dan’s leg.

111.        Defendant Loomis allowed the attack to continue for thirty (30) seconds

   without intervention.

112.        Defendant Loomis had ample time to stop the attack, or command

   Defendant Aguilar to stop the attack.

113.        Instead, Defendant Loomis allowed the dog to bite, twist, and tear Dan’s leg

   for an extraordinary length of time until Defendant Aguilar decided to release the

   dog.




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114.       As a result of the excessive force used by Defendant Aguilar and Defendant

   Loomis’s failure to intervene, Dan suffered serious injuries, including physical and

   emotional injuries, pain and suffering.

             COUNT II: CUSTOM AND POLICY OF VIOLATING
                     CONSTITUTIONAL RIGHTS
                     (Official Capacity Defendants)

115.       Plaintiffs restate each of the preceding allegations as if fully stated herein.

116.       Defendant Ford was the Chief of Police at all material times to this

   complaint.

117.       Defendant Ford was the final policy maker, responsible for the hiring,

   training, and supervision of the Clovis Police Department employees.

118.       Defendant Ford’s policies therefore become the customs and policies of the

   City.

119.       During his tenure, Defendant Ford practiced a custom and policy of

   unreasonable and excessive use of force.

120.       Defendant Aguilar was trained on the policies and procedures of the Clovis

   Police Department.

121.       Specifically, Defendant Aguilar has been trained on how and when to

   deploy police PSD Leo.

122.       Defendant Aguilar has routinely used unreasonable or excessive force when

   interacting with members of the community in Clovis.

123.       Defendant Ford has allowed and ratified these uses of force.

124.       In August 2014, Defendant Aguilar arrested Jorge Corona during a traffic

   stop.




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125.       Mr. Corona was the passenger in the vehicle stopped by Defendant Aguilar.

126.       Defendant Aguilar arrested Mr. Corona for failing to show him his ID.

127.       Dashcam footage of the incident shows Defendant Aguilar threw him

   “facedown into the asphalt” while his hands were handcuffed behind his back.

128.       According to the Complaint filed by Mr. Corona, this use of force resulted

   fracturing Mr. Corona’s cheekbone and causing other injuries.”

129.       In September 2015, Defendant Aguilar was involved in an on-foot pursuit

   of a man with a misdemeanor warrant for a probation violation.

130.       On this encounter, Defendant Aguilar pursued Mr. Robert Moya with K-9

   unit.

131.       According to the complaint filed by Mr. Moya, based on lapel footage of

   the incident, Defendant Aguilar told him to come out with hands hands up or they

   would release the dog.

132.       Defendant Aguilar apparently also told Mr. Moya if Leo found him he

   would bite him.

133.       According to the complaint filed by Mr. Moya, Defendant Aguilar released

   his police dog, who attacked and seized Mr. Moya “by biting his head and latching

   tightly onto Plaintiff’s upper arm with his jaw.”

134.       Following this incident, Defendant Aguilar’s actions were reviewed by the

   Clovis Police Department.

135.       The Department found Defendant Aguilar’s actions were “reasonable and

   within [CPD’s] policy.”




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136.       Between February 2014 and May 2017, Defendant Aguilar deployed Leo at

   least 9 times, all of which resulted in bites to Clovis citizens.

137.       In October 2018, Defendant Aguilar shot a 22-year old Clovis man four (4)

   times during an on-foot pursuit, killing him.

138.       Following this incident, Defendant Aguilar was placed on paid

   administrative leave for seven days, then returned to duty.

139.       Thirty-six (36) days after Dan Lucero was attacked, Defendant Aguilar

   released his police dog on a 17-year old child, biting his left wrist and right leg.

140.       This attack occurred after the child surrendered to Defendant Aguilar’s

   commands and was on his knees with his hands up.

141.       This attack resulted in serious injuries to the child.

142.       Despite his continued and frequent use of excessive force, Defendant Ford

   has allowed Defendant Aguilar to continue serving CPD.

143.       Upon information and belief, Defendant Aguilar has not faced discipline for

   his use of force during his time as a police officer.

144.       As a result, Defendant Ford has emboldened Defendant Aguilar to continue

   his practice of excessive force against members of the Clovis Community.

145.       In effect, Defendant Ford has embraced Defendant Aguilar’s conduct as

   acceptable practice for officers in the Clovis Police Department.

146.       The policies, customs, decisions, and practices of Defendant Ford has

   created a climate within CPD where excessive or unreasonable uses of force are

   accepted.




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147.      There is a causal connection between Defendant Ford’s policies and the

   violation of Dan’s constitutional rights.

148.      As a result of these policies, Dan has suffered serious physical injuries,

   emotional damages, including PTSD.

                                COUNT III: BATTERY
                               (Defendant Brent Aguilar)

149.      Plaintiff restates each of the preceding allegations as if fully stated herein.

150.      When Defendant Aguilar first arrived at Mr. Lucero’s mother’s apartment,

   he did not bring PSD Leo out of his vehicle.

151.      After he and the other responding officers spoke with Ms. Lucero,

   Defendant Aguilar returned to his unit and retrieved Leo.

152.      Defendant Aguilar brought PSD Leo to the apartment intending to use him

   in response to the welfare check on Dan.

153.      Defendant Aguilar told Defendant Looms he was going to release PSD Leo

   on Dan if he stepped back into his home.

154.      After speaking with Dan, officers opened the door to the apartment and

   Defendant Aguilar forced his way through to the front.

155.      Defendant Aguilar told Dan that he was going to release his dog.

156.      Defendant Aguilar knew that if he released Leo, he would bite Dan.

157.      Police service dogs are trained to find and bite.

158.      Defendant Aguilar released Leo and commanded him to attack Dan.

159.      Immediately, as he was trained, Leo attacked Dan and bit his leg repeatedly

   and continuously for approximately 30 seconds.




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160.          This dog attack was an harmful and offensive touching that resulted in

   serious injury to Dan.

161.          The above described actions constitute a battery upon Plaintiff within the

   meaning of Section 41-4-12 of the New Mexico Tort Claims Act.

162.          As a direct and proximate result of this battery, Dan suffered serious, life-

   threatening physical injuries, pain and suffering, and emotional injuries.

                                   COUNT IV: ASSAULT
                                  (Defendant Brent Aguilar)

163.          Plaintiff restates each of the preceding allegations as if fully stated herein.

164.          When Defendant Aguilar entered the apartment, he told Dan he was going

   to release his dog on him.

165.          Dan watched Defendant Aguilar charge into his mother’s living room with

   PSD Leo on a short lead.

166.          Defendant Aguilar threatened to release Leo again after he entered the living

   room.

167.          Defendant Aguilar’s threats to release his dog on him placed Dan in a

   reasonable apprehension of an imminent battery.

168.          Defendant Aguilar released the dog in front of Dan and yelled an attack

   command.

169.          Dan watched as Defendant Aguilar’s police dog charged at him and grabbed

   his leg.

170.          As a direct and proximate cause of Defendant Aguilar’s actions, Dan has

   suffered serious emotional damages.




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                                   JURY DEMAND

   171.       Plaintiffs hereby demand a trial by jury on all counts.

WHEREFORE, Plaintiffs requests judgment as follows:

       1. Compensatory damages in an as yet undetermined amount, jointly and severally

against all Defendants, including damages for attorney’s fees and emotional harm.

       2. Punitive damages in an as yet undetermined amount severally against the

individually named Defendants.

       3. Reasonable costs and attorney’s fees incurred in bringing this action.

       4. Such other and further relief as the Court deems just and proper.



                                     Respectfully submitted,

                                     COYTE LAW P.C.


                                      /s/ Alyssa D. Quijano
                                     Alyssa D. Quijano
                                     Matthew E. Coyte
                                     Attorneys for Plaintiff
                                     3800 Osuna Road NE, Suite 2
                                     Albuquerque, NM 87109
                                     (505) 244-3030




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